     4:05-cr-01129-TLW     Date Filed 11/04/21    Entry Number 426    Page 1 of 6




                       UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH CAROLINA
                            FLORENCE DIVISION

 United States of America,                    Case No. 4:05-cr-01129-TLW-1

       v.
                                                              Order
 Mecca Taurice Evans



      This matter is before the Court on Defendant Mecca Taurice Evans’ pro se

motion for a sentence reduction under the compassionate release statute, 18 U.S.C.

§ 3582(c)(1)(A)(i). ECF No. 407. For the reasons set forth below, his motion is denied.

      Defendant pled guilty to the following charges:

      Count 1:      Conspiracy to Possess With Intent to Distribute 50 Grams or
                    More of Cocaine Base and 5 Kilograms or More of Cocaine, in
                    violation    of     21   U.S.C. §§ 841(a)(1), 841(b)(1)(A)(ii),
                    841(b)(1)(A)(iii), and 846;

      Count 2:      Attempted Armed Robbery, in violation of 18 U.S.C. § 1951;

      Count 3:      Using, Carrying, and Possessing a Firearm During and in
                    Relation to, and in Furtherance of a Crime of Violence, in
                    violation of 18 U.S.C. § 924(c)(1)(A); and

      Count 4:      Felon in Possession of a Firearm, in violation of 18 U.S.C.
                    §§ 922(g)(1) and 924(a)(2).

His Guidelines range at sentencing was 292 to 365 months (38/III) on Counts 1, 2,

and 4, plus 84 months consecutive on Count 3, followed by 10 years of supervised

release. PSR ¶¶ 102, 108; ECF No. 88. The Court imposed an overall sentence of 396

months, consisting of 312 months on Count 1, 240 months on Count 2, 120 months on

Count 4, and 84 months consecutive on Count 3, followed by a 10-year term of

supervised release. ECF No. 87. After two Rule 35(b) reductions and a reduction


                                          1
     4:05-cr-01129-TLW     Date Filed 11/04/21   Entry Number 426      Page 2 of 6




based on a Guidelines amendment, his current sentence is 244 months, consisting of

208 months on Counts 1 and 2, 120 months on Count 4, and 36 months consecutive

on Count 3. ECF No. 247. BOP records reflect that he is scheduled to be released from

custody on February 10, 2023.

      Absent certain exceptions, a court “may not modify a term of imprisonment

once it has been imposed.” 18 U.S.C. § 3582(c). One of those exceptions is the

compassionate release statute. That statute provides, in relevant part, as follows:

      [T]he court, . . . upon motion of the defendant . . . , may reduce the term
      of imprisonment . . . after considering the factors set forth in section
      3553(a) . . . , if it finds that—(i) extraordinary and compelling reasons
      warrant such a reduction; . . . and that such a reduction is consistent
      with applicable policy statements issued by the Sentencing Commission
      ....

18 U.S.C. § 3582(c)(1)(A). “A defendant who seeks compassionate release under

§ 3582(c)(1)(A)(i) has the burden of establishing that such relief is warranted.” United

States v. Edwards, 451 F. Supp. 3d 562, 565 (W.D. Va. 2020).

      The Sentencing Commission issued a policy statement—U.S.S.G. § 1B1.13—

regarding compassionate release motions, and although the policy statement only

directly applies to BOP motions, “it remains helpful guidance” for inmates’ motions.

United States v. McCoy, 981 F.3d 271, 287 n.7 (4th Cir. 2020). Notably, § 1B1.13(2)

provides that the Court, before reducing a sentence, should determine that “the

defendant is not a danger to the safety of any other person or to the community, as

provided in 18 U.S.C. § 3142(g).” Additionally, the commentary to § 1B1.13 provides

four categories of what constitutes extraordinary and compelling reasons for a

sentence reduction: (1) the defendant’s medical condition; (2) his age; (3) his family


                                           2
     4:05-cr-01129-TLW      Date Filed 11/04/21   Entry Number 426      Page 3 of 6




circumstances; and (4) a catch-all “other reasons.” Id. at cmt. n. 1(A)–(D).

       While § 1B1.13 may provide guidance, it is not an applicable policy statement,

so “district courts are empowered to consider any extraordinary and compelling

reason for release that a defendant might raise.” McCoy, 981 F.3d at 284 (cleaned

up). Ultimately, the determination of whether a case presents extraordinary and

compelling reasons warranting a sentence reduction is a question reserved to the

sound discretion of the district court. See United States v. Kibble, 992 F.3d 326, 329

(4th Cir. 2021) (concluding that compassionate release orders are reviewed for abuse

of discretion).

       In Defendant’s motion, he says that a sentence reduction is appropriate for

several reasons: (1) his health issues;1 (2) that he was sentenced under the 100:1

cocaine-to-crack ratio, rather than the current 18:1 ratio; (3) his statutory sentencing

range on Count 1 under current law would be 15 years to Life, rather than 20 years

to Life; (4) his “state priors could not be used”; and (5) his § 924(c) conviction should

be vacated because a federal drug conspiracy is no longer a valid § 924(c) predicate

offense. ECF No. 407 at 5. The Government opposes his motion, arguing that his

health issues do not constitute extraordinary and compelling reasons, and that he

has failed to demonstrate that he is not a danger to the community or otherwise



1 He lists high blood pressure, obesity, respiratory illness/bronchitis, “food allergies
due to a weakened immune system,” and a family history of diabetes. ECF No. 407 at
5. Notably, he does not say that he has diabetes, only that there is a family history of
it. Additionally, he does not claim that these conditions increase the danger to him
posed by the COVID-19 pandemic, but even if he had, the Court’s ruling would be the
same.


                                           3
       4:05-cr-01129-TLW      Date Filed 11/04/21   Entry Number 426    Page 4 of 6




merits relief under the § 3553(a) factors. ECF No. 413 at 9, 12. In particular, the

Government points out that his offense conduct “involved substantial amounts of

drug activity and [was] extremely violent, including brandishing firearms and a plan

to kill one of the Government’s cooperating witnesses.” Id. at 12. In reply, Defendant

reiterates his earlier arguments and points out that the Government consented to his

prior motion for an Amendment 782 sentence reduction.2 ECF No. 414 at 2–3. He also

points to his rehabilitative efforts in prison, his lack of disciplinary history, and his

family support. Id. at 4–5.

        In considering whether to reduce Defendant’s sentence, the Court has carefully

reviewed the Presentence Investigation Report and has considered the statutory

penalties, the Guidelines range, applicable caselaw and statutory law, the § 3553(a)

factors, and his post-sentencing conduct.3 The Court concludes has not shown that

extraordinary and compelling reasons warrant a sentence reduction in light of the

§ 3553(a) factors.

        Defendant raises various health concerns. The Court has reviewed the medical

records attached to his motion. These records indicate that none are causing him

significant day-to-day difficulties and, notably, indicate that he is receiving proper


2   The Court denied that motion in 2016. ECF No. 347.
3 The Court has considered in its analysis each of the arguments he raises, including
(1) his health concerns; (2) that he was sentenced under the 100:1 cocaine-to-crack
ratio; (3) that his statutory sentencing range on Count 1 would now be 15 years to
Life with the § 851 enhancement; (4) that his prior cocaine distribution conviction
would no longer serve to enhance his sentence under § 851; (5) his argument
regarding the ongoing validity of his § 924(c) conviction; (6) his rehabilitative efforts
while incarcerated; (7) his lack of any disciplinary history; and (8) his release plan.


                                             4
     4:05-cr-01129-TLW      Date Filed 11/04/21   Entry Number 426      Page 5 of 6




treatment by the BOP. See ECF No. 407-2 at 14–23.

        The Court acknowledges Defendant’s rehabilitative efforts and lack of

disciplinary history while incarcerated. However, there are numerous significant

factors that counsel against a reduction.

        1.    Notably, Defendant was a large-scale drug dealer who was held
              accountable for 37 kilograms of cocaine and 363.4 grams of crack. PSR
              ¶ 17.

        2.    Defendant engaged in violent conduct in connection with the instant
              federal convictions when he attempted to rob another drug dealer at
              gunpoint, resulting in injuries to the victim. Additionally, a firearm was
              discharged in the immediate aftermath of the attempted robbery. PSR
              ¶¶ 13, 18–19.

        3.    During a recorded phone conversation after the attempted robbery,
              Defendant told a confidential source that the victim knew who
              Defendant was, so Defendant was going to have to kill him. PSR ¶ 13.

        4.    Defendant received an obstruction adjustment and lost credit for
              acceptance of responsibility for devising a violent plan to murder one of
              the Government’s other witnesses. PSR ¶¶ 20–26, 29, 32.

        5.    Defendant has a prior cocaine distribution conviction, which did not
              deter him from committing the significant drug conduct in this case.
              PSR ¶ 36.

        6.    Defendant was on probation when he committed the instant offense.
              PSR ¶¶ 36, 38.

The PSR outlines this conduct in detail. That information is incorporated by reference

here.

        As to Defendant’s particular argument regarding the ongoing validity of his

§ 924(c) conviction, first, that is a matter more properly addressed in a habeas

petition, not a compassionate release motion. But more to the point, he is simply

incorrect. Section 924(c) provides that it is illegal to possess a firearm in relation to



                                            5
     4:05-cr-01129-TLW     Date Filed 11/04/21   Entry Number 426      Page 6 of 6




any “drug trafficking crime,” which is defined in § 924(c)(2) to include “any felony

punishable under the Controlled Substances Act (21 U.S.C. 801 et seq.).” The drug

conspiracy offense he was convicted of in Count 1 is a felony offense in violation of 21

U.S.C. § 846, which is part of the Controlled Substances Act. Thus, his drug

conspiracy offense remains a § 924(c) predicate offense.

      The Court has considered the factors set forth in section 3553(a) and finds that

extraordinary and compelling reasons do not warrant a sentence reduction in

Defendant’s case. 18 U.S.C. § 3582(c)(1)(A)(i). In summary, the Court concludes that

this is not a close question—Defendant’s conduct in connection with the federal

offense, specifically the significant drug weight and the violence used and planned,

weigh heavily against a reduction or release. Accordingly, his compassionate release

motion, ECF No. 407, is DENIED.4

      IT IS SO ORDERED.

                                        s/ Terry L. Wooten
                                        Terry L. Wooten
                                        Senior United States District Judge

November 4, 2021
Columbia, South Carolina




4To the extent he seeks an order directing the BOP to grant him an early release to
home confinement pursuant to the CARES Act, Pub. L. No. 116-136, § 12003(b)(2),
134 Stat. 281, 516 (2020), the Court does not have discretion to issue such an order.
United States v. Rucker, 853 F. App’x 893, 893 (4th Cir. 2021).

                                           6
